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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

United States of America Protective Order
Vv.

22 Cr. 566 (DLC)
Saul Tejeda Cervantes,

Defendant.

 

 

Upon the application of the United States of America, with the consent of the undersigned
counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby
finds and orders as follows:

WHEREAS, the Government will make disclosure to the defendant of documents, objects
and information, pursuant fo Federal Rules of Criminal Procedure 5(f) and 16, 18 U.S.C. § 3500,
and the Government’s general obligation to produce exculpatory and impeachment material in
criminal cases, all of which will be referred to herein as “Disclosure Matenal”;

WHEREAS, the Government’s Disclosure Material in this case may include sensitive
information (“Sensitive Information’) that may () affect the privacy interests of third parties; or
(il) expose confidential personal information;

WHEREAS, the Government’s Disclosure Material in this case may also include
information that, absent protective considerations, may raise a particular risk of identifying
individuals who are cooperating with law enforcement or disclose information about targets of an
ongoing investigation (“Attorney Possession Only Material”);

WHEREAS, the entry of a protective order in this case will permit the Government to

produce disclosure material expeditiously without further litigation or the need for substantial

 
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redactions, and will afford the defense prompt access to such materials, in substantially unredacted
form, which will facilitate the preparation of the defense;
NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

L. The Government may designate Disclosure Material as Sensitive Information by
labeling such Disclosure Material as “Sensitive.” Sensitive Information so designated by the
Government shall not be disclosed by the defendant or defense counsel, including any successor
counsel (collectively, “the defense”), other than as set forth herein, and shall be used by the defense
solely for purposes of defending this action. All Sensitive Information possessed by the defense
shall be maintained in a safe and secure manner.

2, The defense shall not post any Sensitive Information on any Internet site or network
site to which persons other than the parties hereto have access,' and shall not disclose any Sensitive
Information to the media or any other third party, except as set forth herein.

3. Sensitive Information may be disclosed by counsel to the following persons
(hereinafter, “Designated Persons”):

(a) The defendant;

(b) Personnel for whose conduct counsel is responsible, ie., personnel employed
by or retained by counsel, as needed for purposes of defending this action; and

(c) Prospective witnesses (“Prospective Witnesses”) for purposes of defending this

action.

 

! This provision dces not prohibit counsel for any defendant from using secure private web services, such as “Drop
Box,” to store Sensitive Information, provided that the only people with access to such services are those authorized
herein to receive Sensitive Information.

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All Designated Persons to whom Sensitive Information is disclosed in accordance with this
provision shall be subject to the terms of this Order. To the extent Sensitive Information is
disclosed to any Designated Persons, defense counsel shall first provide each Designated Person
with a copy of this Order and instruct such Designated Persons that they are bound by the terms
of this Order. Defense counsel shall make reasonable efforts to maintain a record of what Sensitive
Information has been disclosed to Prospective Witnesses pursuant to this Order.

4, The Government may designate Disclosure Material as Attorney Possession Only
Material by labeling such Disclosure Material as “Attorney Possession Only.” Attorney
Possession Only Material may be disclosed by defense counsel to personnel for whose conduct
counsel is responsible—that is, personnel employed by or retained by counsel, as needed for
purposes of defending this action—and the contents of Attorney Possession Only Material may be
shared with the defendant. Attorney Possession Only Material, however, shall be kept in the soie
possession of defense counsel or personnel for whose conduct defense counsel is responsible; shall
not be reviewed or maintained by the defendant outside the presence of defense counsel or
personnel for whose conduct defense counsel is responsible; and shall not be copied or otherwise
recorded by the defendant.

5. The Government may authorize, in writing, disclosure of Sensitive Information and
Attorney Possession Only Material beyond that otherwise permitted by this Order without further
Order of this Court.

6. This Order does not prevent the disclosure of any Sensitive Information or Attorney

Possession Only Material in any hearing or trial held in this action, or to any judge or magistrate
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judge, for purposes of this action. All filings should comply with the privacy protection provisions
of Fed, R. Crim. P. 49.1,

7. Except for Sensitive Information and Attorney Possession Only Material that has
been made part of the record of this case, the defense shali return to the Government or securely
destroy or delete all Sensitive Information and Attorney Possession Only Material within 30 days
of the expiration of the period for direct appeal from any verdict in the above-captioned case; the
period of direct appeal from any order dismissing any of the charges in the above-captioned case;
or the granting of any motion made on behalf of the Government dismissing any charges in the
above-captioned case, whichever date is later, subject to defense counsel’s obligation to retain
client files under the Rules of Professional Conduct. If Sensitive Information is provided to any
Prospective Witnesses, counsel shall make reasonable efforts to seek the return or destruction of

such materials.
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Retention of Jurisdiction

8. The provisions of this Order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order until the Court orders

otherwise.

AGREED AND CONSENTED TO:

DAMIAN WILLIAMS
United States Attorney

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Patrick R. Moroney
Assistant United States ancy

Jill R , Digitally signed

/ by JiR. Shellow
Shellow

~ Date: 2022.11.09
Till Shellow, Esq,

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Attorney for Saul Tejeda Cervantes

Date:

 

Date:

 

SO ORDERED:

Dated: New York, New York
November 4 , 2022

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11/8/2022

Unc. Ml

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UNITED STATES DISTRICT JUDGE
